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10                                UNITED STATES DISTRICT COURT
11                                           DISTRICT OF NEVADA
12     BANK OF AMERICA, N.A.,                             Case No.: 2:21-cv-00313-JCM-NJK
13                             Plaintiff,                 JOINT STIPULATION TO EXTEND
                                                          STAY OF CASE
14                     vs.
                                                          (SECOND REQUEST)
15     NORTH AMERICAN TITLE INSURANCE
       COMPANY,
16
                               Defendant.
17

18          Defendant North American Title Insurance Company (“NATIC”), on the one hand, and
19   plaintiff Bank of American, N.A. (“BANA”), on the other hand, hereby stipulate and agree as
20   follows:
21          This is one of many actions pending before the Nevada state and federal courts involving a
22   Lender’s alleged entitlement to coverage under a title insurance policy following an HOA
23   foreclosure sale. BANA filed this specific action in Nevada’s Eighth District Court on February
24   23, 2021, and NATIC removed this case to the United States District Court on February 24, 2021;
25          As set forth in the Parties’ stipulation to stay this case (ECF No. 8), BANA and NATIC
26   had entered into global settlement negotiations to discuss the resolution of approximately 100
27   similar title insurance claims;
28          The District Court granted the Parties’ stipulation on April 16, 2021 (ECF No. 9);

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 1          The District Court thereafter extended the stay on September 15, 2021 (ECF No. 14);
 2          On September 30, 2021, the Parties submitted a second joint status report to the District
 3   Court (ECF No. 15) regarding their ongoing settlement negotiations, wherein the Parties noted
 4   that BANA on September 10, 2021 provided NATIC with a global settlement demand after
 5   internally evaluating of the individual claims at issue in the global settlement discussions;
 6          As also set forth in that second joint status report, NATIC is now in the process of
 7   evaluating those claims (in light of the global demand and the information provided therein), and
 8   formulating an appropriate response;
 9          NOW THEREFORE, BANA and NATIC hereby STIPULATE and AGREE as follows,
10   subject to the approval of the District Court:
11          1. The action shall remain STAYED.
12          2. The Parties shall provide the District Court with a further, joint status update ninety
13              (90) days after entry of the order on this stipulation.
14          3. In the event this matter does not settle, the parties will submit a proposed scheduling
15              order to the Court.
16
     Dated: October 7, 2021                           SINCLAIR BRAUN LLP
17
                                                      By:    /s/-Kevin S. Sinclair
18                                                          KEVIN S. SINCLAIR
                                                            Attorneys for Defendant
19                                                          NORTH AMERICAN TITLE INSURANCE
                                                            COMPANY
20
     Dated: October 7, 2021                           WRIGHT, FINLAY & ZAK, LLP
21

22                                                    By:    /s/-Lindsay D. Dragon
                                                            LINDSAY D. DRAGON
23
                                                            Attorneys for Plaintiff
                                                            BANK OF AMERICA, N.A.
24

25   IT IS SO ORDERED.

26          Dated this _____13,
                   October   day2021.
                                 of _____________, 2021.

27                                                    __________________________________________
                                                      JAMES C. MAHAN
28                                                    UNITED STATES DISTRICT JUDGE
                                                   2
                                        STIPULATION TO STAY CASE
